      Case 1:23-cv-23933-FAM Document 3 Entered on FLSD Docket 10/13/2023 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                       SouthernDistrict
                                                    __________ Districtof
                                                                        of__________
                                                                          Florida


              Sucesión Simon Diaz Marquez                           )
                                                                    )
                                                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No. 1:23-cv-23933-FAM
                                                                    )
          Miami Fine Foods, LLC and Avi Assor                       )
                                                                    )
                                                                    )
                                                                    )
                           Defendant(s)                             )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Avi Assor
                                           2635 NE 188 Street Bay, #108
                                           North Miami Beach, Florida 33180




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: HAUG PARTNERS LLP
                                           777 South Flagler Drive,
                                           Phillips Point East Tower
                                           Suite 1000
                                           West Palm Beach, FL 33401


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                              Angela E. Noble
                                                                              CLERK OF COURT


Date:      Oct 13, 2023                                                                            s/ W. Cendejas

                                                                                        Signature of Clerk or Deputy Clerk
      Case 1:23-cv-23933-FAM Document 3 Entered on FLSD Docket 10/13/2023 Page 2 of 2

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                                      UNITED STATES DISTRICT COURT
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              Sucesión Simon Diaz Marquez                           )
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                           Defendant(s)                             )

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                                                                              CLERK OF COURT


Date:      Oct 13, 2023                                                                            s/ W. Cendejas

                                                                                        Signature of Clerk or Deputy Clerk
